Case 3:08-cr-30071-DRH-PMF     Document 71     Filed 05/21/09   Page 1 of 1   Page ID
                                     #257



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JORGE TORRES,

 Defendant.                                               No. 08-30071-DRH

                                      ORDER

 HERNDON, Chief Judge:

              Before the Court is the United States of America’s joint motion to

 continue sentencing (Doc. 70). The Government requests that the Court continue

 the sentencing hearing for Defendant Torres for 60 days so that Defendant can

 provide assistance in the Government’s investigation and so that the Government can

 accurately advise the Court on the nature and extent of Defendant Torres’

 cooperation. The Government further states that counsel for Defendant Torres has

 authorized the Government to file the motion jointly. Therefore, the Court GRANTS

 the Government’s joint motion to continue sentencing (Doc. 70) and CONTINUES the

 sentencing date set for May 22, 2009 until July 24, 2009 at 1:30 p.m.

              IT IS SO ORDERED.

              Signed this 21st day of May, 2009.

                                             /s/     DavidRHer|do|
                                             Chief Judge
                                             United States District Court
